  Case 1:19-cv-00715-LO-IDD Document 2 Filed 06/04/19 Page 1 of 1 PageID# 32




                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                   ______________________
                                          ALEXANDRIA      DIVISION

____________________________________
Juul Labs, Inc.


                  vs.                                           Civil/Criminal Action No.______________
                                                                                         1:19-cv-00715
____________________________________
The Unincorporated Associations Identified in Schedule A


                        FINANCIAL INTEREST DISCLOSURE STATEMENT

          Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
______________________________________________________________________________
 Juul Labs, Inc.
in the above captioned action, certifies that the following are parents, trusts, subsidiaries and/or
affiliates of said party that have issued shares or debt securities to the public or own more than
ten percent of the stock of the following:
______________________________________________________________________________
 More than ten percent of Juul Labs, Inc.'s stock is owned by Altria Group, Inc., a publicly traded corporation.
______________________________________________________________________________

                                                           Or

        Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for
______________________________________________________________________________
in the above captioned action, certifies that the following are parties in the partnerships, general
or limited, or owners or members of non-publicly traded entities such as LLCs or other closely
held entities:
______________________________________________________________________________
______________________________________________________________________________

                                                           Or

         Pursuant to Local Rule 7.1 of the Eastern District of Virginia and to enable Judges and
Magistrate Judges to evaluate possible disqualifications or recusal, the undersigned counsel for
______________________________________________________________________________
in the above captioned action, certifies that there are no parents, trusts, subsidiaries and/or
affiliates of said party that have issued shares or debt securities to the public.

____________________
June 4, 2019                                                    ____________________________________
                                                                /s/ Monica Riva Talley
Date                                                            Signature of Attorney or Litigant
                                                                                Juul Labs, Inc.
                                                                Counsel for __________________________




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